Case 2:04-cV-02711-.]P|\/|-de Document 17 Filed 08/19/05 Page 1 of 3 Page|D 14

F"-ED BY ____ pc
UNITEI) sTATEs DISTRICT COURT ' '
WESTERN DISTRICT oF TENNESSEE 05 AUG 19 PH 3= t,3
rrey Alan Majors ) THOMAS M. song
) ease No. 04-2711-1\/11-\/ CLWQ° ?W”TCOUW
Plaintiff, ) Magistrate Judge Diane K. Vescovo ` ` """""LH‘S
)
)
v. )
)
Kenneth Boyd & James Clark, )
)

Defendants. )

 

m ORDER GRANTING DEFENDANTS’
MOTION FOR EXTENSION OF TIME

 

This matter having come before this Honorable Court, upon the motion of
defendants, Kenneth Boyd and J ames Clark, for an extension of time to file a response to
the complaint, the Court having reviewed the motion and being otherwise fully advised in
the premises FINDS that the motion is well taken;

It is therefore ORDERED that the defendants’ Motion for Extension of Time is
granted and that the time for defendant to respond to the complaint be and hereby is

extended for a period of twenty (20) days, up until and including September 7, 2005.

\,¢l/\
ENTEREDthiS/i dayof Qg?g ,2005.

Page 1 of 4

Th|s document entered on the docket sheet in compliance
with nu\e 58 and/or rs(a) FncP on ' ' / 7

Case 2:04-cV-02711-.]P|\/|-de Document 17 Filed 08/19/05 Page 2 of 3 Page|D 15

`/. M
Diane . Vescovo
Magistrate Judge

Approved for Entry:

(Electrom'c signature ajj'ixed by the undersigned)

 

Jennifer L. Brenner, BPR # 022692
Assistant Attorney General

Civil Rights and Claims Division
P. O. Box 20207

Nashville, TN 37202-0207

(615) 532-2500

Page 2 of 4

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 17 in
case 2:04-CV-02711 was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

ESSEE

 

Trey Alan Majors

Southeastern TN State Regional Correction Facility

247162
Rt 4 BoX 600
Pikeville, TN 37367

J ames Clark

WTST

Site # 2

P.O. Box l 150
Henning, TN 38041

Kenneth Boyd
WTSP

Site # 2

P.O. Box l 150
Henning, TN 38041

Jennifer L. Brenner

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202

Honorable J on McCalla
US DISTRICT COURT

